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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS IM HAY 26 PH As py
United States ) Criminal Action No 19-10080-NMG
v ) aT
Gamal Abdelaziz, ) sg.
John Wilson, Defendants )

SUPPLEMENT TO AMICUS BRIEF IN SUPPORT OF UNITED STATES

I Chose in Action
(1) Kevin Sobel-Read et al, The Critical Role of Choses in Action: A Call for Harmonization
Across Common Law Jurisdictions. Fordham Int’| L J, 45: 513 stated:

“These differences [among common law jurisdictions] rarely involve the definition of a
chose in action. Rather, jurisdictional variation most frequently arises in regard to the transfer of
choses in action, and, in particular, to whom they can be assigned and under what
circumstances.” Jd, at 516.

“The sixteenth century [in Eng;and] was characterized by a tendency to regard any
intangible right which was not clearly an incorporeal hereditament, and any non-assignable right,
even if only temporarily non-assignable, as a chose in action. This eventually included the
documents that were necessary evidence of such a right to action, such as bonds, documents of
title, charters, and deeds. This inclusion led to the extension of the concept to include elements of
the law of contract and property * * * ” Jd, at 518 (footnotes omitted)

“There is federal common law on the subject [chose in action], but only specifically
regarding federal matters. By and large, state law is most relevant here.” Jd, at 523 (footnotes
omitted)

https://ir.lawnet.fordham.edu/cgi/viewcontent.cgi?article=283 8 &context=ilj
(a) Compare Sheldon v Sill (1850) 49 US 441, 449

“The term ‘chose in action’ is one of comprehensive import. It includes the infinite
variety of contracts, covenants, and promises, which confer on one party a right to recover a
personal chattel or a sum of money from another, by action. It is true, a deed or title for land
does not come within this description. And it is true, also, that a mortgagee may avail himself of
his legal title to recover in ejectment, in a court of law.” (emphasis added)

The intangible mortgage loan is a chose in action, manifested in “document” (Sobel-Read’s

second quotation above) called mortgage note (or deed of trust in some states such as California).
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It is assumed both Sibel-Read’s second quotation and Sheldon referring to the same thing
(title deed). Perhaps the Sheldon court did not deem deed a chose in action because it was not a
contract; moreover deed is document for chose in possession: realty.
(b) A lengthy discussion on chose in action is found in WS Holdsworth, The History of the
Treatment of 'Choses' in Action by the Common Law. Harv L Rev (1920) 33: 997.

https://www.jstor.org/stable/pdf/1327628.pdf
(c) In the instant case, though federal common law (on chose of action or property) may be

in play, Lu does not attempt to engage in choice-of-law analysis, for he sees no difference with
California state law (in these two subjects).

(2) federal common law on chose in action: Sprint Communications Co v APCC Services,
Inc (2008) 554 US 269, 275-276; Burnet v Wells (1933) 289 US 670, 679-680 (“A policy of life
insurance is a contract susceptible of ownership like any other chose in action. * * * policy of
life insurance is a contract * * * The contracts remain his [insured], or his at least in part”); JA
Wynne Co, Inc v RD Phillips Construction Co, Inc (CAS 1981) 641 F.2d 205, 208; Jenkins v

United States (1970) 428 F, 2d 538 (“inchoate title” as chose in action).

(3)
(a) United States v Granberry (CA8 1990) 908 F.2d 278, 279-280 described “[t]en different

types of money or property” bus company and State of Missouri were defrauded. The latter could
not stand in view of Cleveland v United States (2000) 531 US 12. In the case at bar, the
government could have charged Abdelaziz with defrauding the university, not just of admission
slot but of discount to tuition, which is scholarship.

(b) Granberry, at 280, further stated: “An employment contract is property. It is a chose in
action. It represents a right in the employee to be paid agreed-upon wages for services

performed, and a right in the employer to demand agreed-upon services for wages paid.”
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Substitute “student” for “employee,” “school” for “employer,” and school rather than
employee as service provider, and, voila, one has school-student relationship in a new
perspective.

(4) Degree and admission slot and are both choses in action.

(a) Degree is intangible right, whereas diploma is “document.” School possesses unissued
degree (something akin to “inchoate title”) in which student has anticipatory interest.
Parenthetically, the reasoning in United States v Frost (CA6 1997) 125 F.3d 346, 367
(“Awarding degrees to inept students, or to students who have not earned them, will decrease the
value of degrees in general. More specifically, it will hurt the reputation of the school and
thereby impair its ability to attract other students willing to pay tuition, as well as its ability to
raise money. The University of Tennessee therefore has a property right in its unissued degrees”)
for the proposition that unissued degree is school’s property is rejected in United States v
Virginia (1996) 518 US 515, 542 ("The notion that admission of women would downgrade
VMI’s stature, destroy the adversative system and, with it, even the school, is a judgment hardly
proved”).

School retains restrictions over post-issued degree. That is how colleges rescinded
comedian Bill Cosby’s honorary degrees (wrongfully or not).

(b) Admission slot is intangible right (of school alone, not shared with potential student),
documented in notification of acceptance.

(c) Cf Trustees of Dartmouth College v Woodward (1819) 4 Wheat (17 US) 518, 332 (“There
are many rights, franchises and authorities, which are valuable in contemplation of law, where no
beneficial interest can accrue to the possessor. * * * Yet a grant of them has never been supposed

the less a contract on that account. * * * [They] are deemed valuable in law”).
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(d) Chose in action, by definition, has recourse in civil action. School can afford to sit back
and wait for student to commence civil action, but in theory school can seek declaratory
judgment (student pays tuition at the beginning of semester, so school need not sue student for
nonpayment). And that is what students have done: Harwood v Johns Hopkins University (Md.
Ct.Spec.App.2000) 130 Md.App. 476, 747 A.2d 205 (degree), Winkler by Winkler v Marist
Fathers of Detroit, Inc (Mich. 2017) 500 Mich 327, 901 N.W.2d 566, on remand
(Mich.App.2017) 321 Mich.App. 436, 909 N.W.2d 311 (admission). Neither case discussed

property or chose in action, but Harwood discussed contract.

(5)

(a) A ticket to performance (document) has four facets in law: chose in action, contract,
license and good. Ticket vendor retains restrictions over post-issued ticket. See Regina v Hunter
[2021] EWCA Crim 1785 at {f 17 (issue 6), 173-174 (ruling on issue 6). (Incidentally, a check
form is a form to request payment from buyer via a check.)

https://caselaw.nationalarchives.gov.uk/ewca/crim/2021/1785
So does admission slot or degree, Lu submits.

(b) _—_ Let’s double back on Cleveland, 531 US 12, where government license, as Lu tells it,
has all facets listed in preceding paragraph, except contract. What is the difference, then,
between government license (which Cleveland held was “purely regulatory,” id, at 22) and
license issued by civilians? This Cleveland reasoned in id, at 20 (“Significantly, Congress [in 18
USC § 1346] covered only the intangible right of honest services”) and n 3, 22-23.

Certainly Cleveland took intangible rights into consideration, without uttering chose in
action. Also Cleveland, ibid, did not lose sight of Carpenter v United States (1987) 484 US 19

(newspaper’s intangible right to unpublished report or analysis), so property in mail or wire fraud
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statutes need not be tangible. Accord Kelly v United States (2020) 590 US _, _ (“time and labor
of Port Authority employees”).

In that the criminal prosecution of Abdelaziz must look to California common law also
(besides federal common law on chose in action or property), the reasoning in id, at 22 seems
contrary to later California decision in Part II ¥ 2, infra. And Louisiana criminal statutes (related
to submission of false information to obtain states license) broached in Cleveland, 531 US, at 23,
is similar to other states’ criminal statutes (see last citation in Part II § 2, infra), which are state
counterparts of mail or wire fraud.

So Lu is at loss as to the difference, if any, between government license and civilian one,
except that the former is issued by a state, a sovereign. Lu concluded that for better or worse, in
effect Cleveland carved out government license, and that is what one commentator implied:
James Y Stern, Property s Constitution (2013) Cal L Rev, 101: 277, 280, n 2 (summarizing
Cleveland, 531 US, at 26 as “licenses to operate video poker machines are not ‘property’ for
purposes of 18 USC § 1341, federal mail fraud statute”).
https://scholarship.law.wm.edu/facpubs/1527

II California State Law
(1)
(a) Lu’s May 17, 2023 Amicus Brief, Part III { 2 praised appellee’s brief (by government). At
the time. Government was unaware of United States v Brown University (E.D.Pa. 1992) 805
F.Supp. 288. Nonetheless, government has a point, if only it had known People v Romanowski
(Cal.2017) 2 Cal.5th 903, 916 (“Indeed we are aware of no jurisdiction that bars courts from
looking at evidence of illegal market value. We see no reason to establish that restriction in

California”), 215 Cal.Rptr.3d 758, 391 P.3d 633.
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(b) As for college degree, Frost, 125 F.3d, at 353 (students who received advanced degree
through ghostwriting would secure government contract to enrich professors) provided
framework to estimate value of degrees they cheated to obtain.

(2) Many defendants in Varsity Blues scandal claims it was a victimless crime, and
university actually gained, rather lost, money. The point was repudiated by all courts that
considered it: Kwikset Corp v Superior Court (Cal.2017) 51 Cal. 4th 310, 330 (“purchase would
not have been made but for the misrepresentation’’), 120 Cal.Rptr.3d 741, 246 P. 3d 877; Hunter
[2021] EWCA Crim 1785 at {J 17 (issue 4(ii) ), 136-140 (ruling on issue 4(ii) ); Commercial
Transactions; false financial statements (1994) 25 Pac L J 489, 490, n 6 (especially last citation).

https://scholarlycommons.pacific.edu/cgi/viewcontent,cgi?article=1910&context=mlr

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